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IN THE UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF ILLINOIS

Monette E. Saccameno,

Plaintiff(s),
Case No. 15 cv 1164
Vv. Judge Gottschall

Ocwen Loan Servicing, LLC, and U.S. Bank
National Association, as trustee for C-Bass
Mortgage Loan Asset-Backed Certificates, Series
2007 RPI,

 

Defendant(s).

JUDGMENT IN A CIVIL CASE

 

Judgment is hereby entered in favor of the plaintff, Monette E. Saccameno and against defendants,
Ocwen Loan Servicing, LLC and U.S. Bank National Association on Count I and against defendant, Ocwen
Loan Servicing, LLC on Counts [Land IV. Plaintiff is awarded actual damages on Counts I, II and IV in the
amount of $500,000; in favor of the plainitff, Monette E. Saccameno and against defendants, Ocwen Loan
Servicing, LLC and U.S. Bank National Association on Count JIT in the amount of $12,000 for economic loss
and $70,000 for non-economic loss. Plaintiff is awarded punitive damages in the amount of $3,000,000. Post-
judgment interest accrues on the amount of the judgment at the rate provided by law from the date of this
judgment. Plaintiff shall recover costs from defendants.

 

This action was:

tried by a jury with Judge Joan B. Gottschall presiding, and the jury has rendered a verdict.

  

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